Case 2:25-cv-02940-JMW Document5 Filed 05/28/25 Page 1 of 2 PagelD #: 138

AO 440 (Rev. 06/12) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the

Eastern District of New York

FIRST DATA MERCHANT SERVICES LLC

Plaintiff(s)
Vv

CENTER FOR JEWISH ADDICTION
REHABILITATION,
LLC D/B/A TIKVAH LAKE RECOVERY; and
ADAM NESENOFF

Civil Action No. 25-cv-02940-JMW

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Defendant(s)

SUMMONS IN A CIVIL ACTION

CENTER FOR JEWISH ADDICTION REHABILITATION,
LLC D/B/A TIKVAH LAKE RECOVERY

6549 Rajol Dr, Sebring, Florida and

10281 Crosswind Rd, Boca Raton, Florida 33498.

To: (Defendant's name and address)

See attached rider.

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: POLSINELLI P.C.

600 THIRD AVE., 42d FI.

New York, NY 10016
Robert H.King, Esq.

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

BRENNA B. MAHONEY
CLERK OF COURT

5/28/2025
Date:

Signature of Clerk or Deputy Clerk

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

FIRST DATA MERCHANT SERVICES LLC,
Plaintiff, Case No.
-against-

CENTER FOR JEWISH ADDICTION REHABILITATION,
LLC D/B/A TIKVAH LAKE RECOVERY; and

ADAM NESENOFF,
Defendants.
RIDER TO PROPOSED SUMMONS
ADAM NESENOFF

10281 Crosswind Rd
Boca Raton, FL 33498

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